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                   Exhibit 19
                            Case 3:16-cr-00411-VC Document 116-19 Filed 09/19/17 Page 2 of 2
(22825 unread) - naummorgovsky@yahoo.com - Yahoo Mail                                                                                                     8/22/17, 3)30 PM


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                                       All     Naum Morgovsky, search your mailbox                             Search Mail       Search Web        Home           N



                                Re:         Re:      Re:         Re: Expedite
                                                                           Re: The curves
                                                                                    Re: The curves
                                                                                             Re: Oﬀer Re: Oﬀer Re: Oﬀer Re: Oﬀer Re: NaumRe: NaumRe: NaumRe: NaumRe: Naum

    Compose                                             Archive         Move            Delete      More


                                       Re: Naum
                                                                                                                                                 What
  Inbox (9999+)
  Drafts (228)
                                                                                                                                                 are the
  Sent                                 Naum Morgovsky <naummorgovsky@yahoo.com>                                       02/20/13 at 11:11 AM       best new
  Archive
                                       To Devin Standard                                                                                         sedans
  Spam (42)                            Hi Devin,                                                                                                 for 2017?
  Trash
                                       Non-ITAR project. If everything goes according to plan, the initial quantities will be                       Search Now
  Smart Views                          about 100 ea. 30mm and 100mm and 300 to 400 of 50mm.
    Important
                                       Regards, Naum
    Unread
    Starred
    People
                                       From: Devin Standard <Devin.Standard@Janostech.com>
    Social
                                       To: Naum Morgovsky <naummorgovsky@yahoo.com>
    Shopping                           Sent: Wednesday, February 20, 2013 7:08 AM
    Travel                             Subject: RE: Naum
    Finance
    silverman                          Hi Naum:
                                       Thanks for your request. ITAR project or non-ITAR project?
    mseymour
                                       How many units of each are you looking to buy?
    bartfield                          Rgds,
    montgomery                         Devin
    seymour
                                       Devin S. Standard
    rosas
                                       Senior Account Manager
    cheo                               Janos Technology
  Folders                              The Power of Focus
                                       WWW.JanosTech.com
    Drafts
                                       Devin.Standard@Janostech.com
    Notes                              (603) 313-2502
    Sent Messages
    untitled
                                                                     BOOTH: # 1736
  Sponsored
                                       Conference Dates: Feb. 5 – 7th
                                       The Moscone Center
                                       San Francisco, CA


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                                       From: Naum Morgovsky [mailto:naummorgovsky@yahoo.com]
                                       Sent: Tuesday, February 19, 2013 8:00 PM
                                       To: Devin Standard
                                       Subject: Re: Naum

                                       Hi Devin,

                                       Attached are the forms containing the desired specs for lens sets we discussed at
                                       the show accompanied by rough sketches pertaining to them.
                                       Please let me know if you need any additional information.
   Try the new Yahoo Mail


https://mg.mail.yahoo.com/neo/launch?.rand=bfv46471ca0e4#8251335507                                                                                              Page 1 of 1
